The court did not err in affirming the award of the State Board of Workmen's Compensation for any of the reasons assigned, as set out in the opinion.
       DECIDED OCTOBER 9, 1947. REHEARING DENIED OCTOBER 30, 1947.
Levora Handspike is the widow of Wade Handspike, who died on July 23, 1946. The record shows that Wade Handspike was an employee of Wright and Lopez, whose compensation insurance carrier is Standard Accident Insurance Company.
The deceased reported for work as a laborer for the employer on the morning of July 23, 1946, the employer being engaged in laying a conduit at Tenth and Boulevard, N.E., in Atlanta, Georgia. The work which the deceased did involved digging through the pavement. First the pavement was broken with what is commonly known as a trip hammer or compressor hammer, *Page 68 
which is referred to in the record as a paving breaker, weighing between 60 and 70 pounds. In digging the ditch it was necessary first to break the pavement and then dig the ditch, the ditch being approximately 18 inches wide and 36 inches deep. The deceased was first engaged in digging a section of the ditch, including using the pick for loosening the dirt and using a shovel to shovel the dirt out. The shovel, when empty, weighed approximately 3 pounds, and when filled weighed approximately 13 pounds. The deceased was thus engaged from around 8:15 a. m. until 10:00 a. m., at which latter time the foreman asked him to use the paving breaker. After using it for an hour and a half, he fell forward face down in a physical seizure that promptly produced death. It was a not July day. The work was strenuous. In addition to the hard work involved, the pavement breaker discharges hot air into the face of the operator, which necessarily further intensifies the heat. The machine also causes vibration, necessitating the use of relief operators. There is evidence in the record that the deceased removed his shirt after he had been called to use the paving breaker, and that after he had his seizure he was perspiring, or had the appearance of perspiring.
Dr. A. N. Collingsworth who qualified himself as an expert in industrial surgery, after giving several things that in his opinion produced the death of the deceased, was asked whether or not any of these conditions could be aggravated by strenuous labor, and he replied: "Well, certainly, one could not deny it was not a strong contributing factor." Dependency of the plaintiff was admitted. The plaintiff filed a claim for compensation under the provisions of the Workmen's Compensation Act. A single director of the State Board of Workmen's Compensation awarded compensation to the plaintiff for the death of the deceased, which award was duly referred to the full board, wherein the findings and award of the single director were affirmed. The case was then appealed to the Superior Court of Fulton County, which court also affirmed the award. The case now comes to this court assigning error on this judgment.
Counsel for the insurance carrier argue the case under several questions, but this court is of the opinion that the question for this court to determine resolves itself into only one point, that is, whether or not the evidence supported the award.
It is our opinion that the evidence was amply sufficient to support the award, under authority of Lumbermen's MutualCasualty Co. v. Griggs, 190 Ga. 277 (9 S.E.2d 84);Williams v. Maryland Casualty Co., 67 Ga. App. 649 (21 S.E.2d 478);  Fidelity  Casualty Co. v. Adams, 70 Ga. App. 297
(28 S.E.2d 79), and under authority of these decisions and many others, we so decide. Nor do we feel that this ruling is inconsistent with any decision cited by the counsel for the insurance carrier, nor with any decision which has been rendered by the appellate courts.
Since there was other competent evidence to establish the death of the deceased, we deem it unnecessary to determine the question of the probative value of the death certificate.
Counsel for the carrier argue that the director did not include the findings of fact in compliance with SoutheasternExpress Co. v. Edmondson, 30 Ga. App. 697 (119 S.E. 39). We conclude that the award covers facts sufficient to deter a reversal on this ground.
And in conclusion, we add that this court is, by statute, dedicated to support the award of the State Board of Workmen's Compensation if there is any evidence to support such finding. An award made by a single director, affirmed by the full board, is conclusive as to those issues of fact, if there is any evidence to sustain it. See the many annotations under § 114-708 (Ann. Supp.) See also Hartford Accident  Indemnity Co. v. Davis,73 Ga. App. 10 (35 S.E.2d 521); Hartford Accident Indemnity Co. v. Hillhouse, 73 Ga. App. 122 (35 S.E.2d 603);  American Mutual Liability Insurance Co. v. Sisson,198 Ga. 623 (32 S.E.2d 295). In United States Casualty Co. v.Richardson, 75 Ga. App. 496 (43 S.E.2d 793). The court said: "An epileptoid condition is on the same footing as arteriosclerosis and the like. Where the evidence shows that excessive exertion peculiar to the employment and peculiar to the employee, brought about an epileptic attack resulting in injury to an employee, the award will be considered to be founded on *Page 70 
sufficient competent testimony." And in headnote 2: "Where an employee is afflicted with an epileptoid condition and is seized with an epileptic attack while in the course of his employment, which attack causes him . . injury . . such is, within the meaning of the Workmen's Compensation Act, a compensable accident arising out of and in the course of the employment. This is true regardless of whether or not the epileptic attack was precipitated or induced by excessive exertion peculiar to the ailment of the employee." Dr. Collinsworth's testimony puts the case at bar within the classification of arteriosclerosis, hence the ruling above quoted in the United States Casualty Company
case would hold in the present case, as to the connection between the work and the death of the deceased, and further, this court there reviewed many rulings of the appellate courts in theUnited States Casualty Company case, particularly as to causative factors involved in connecting injuries and/or deaths due to occupations.
We conclude, therefore (a) that the death of the deceased was the result of an accident and injury which arose out of and in the course of his employment; and (b) that there are sufficient facts in the record to support the award.
The superior court did not err in affirming the award of the State Board of Workmen's Compensation for any of the reasons assigned.
Judgment affirmed. MacIntyre, P. J. and Townsend, J.,concur.